                       Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 1 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Western District
                                                    __________  District of
                                                                         of __________
                                                                            Texas

LULAC TEXAS; VOTO LATINO; TEXAS ALLIANCE                             )
   FOR RETIRED AMERICANS; TEXAS AFT                                  )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 21-cv-00786
                                                                     )
JOSE ESPARZA, in his official capacity as the Texas                  )
        Deputy Secretary of State, et al.
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Jacquelyn Callanen, in her official capacity as the Bexar County Elections
                                           Administrator
                                           Bexar County Elections Department
                                           1103 S. Frio St., Suite 100
                                           San Antonio, TX 78207



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           John R. Hardin
                                           PERKINS COIE LLP
                                           500 North Akard Street, Suite 3300
                                           Dallas, Texas 75201-3347


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:          09/08/2021
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 2 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 21-cv-00786

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 3 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Western District
                                                    __________  District of
                                                                         of __________
                                                                            Texas

LULAC TEXAS; VOTO LATINO; TEXAS ALLIANCE                             )
   FOR RETIRED AMERICANS; TEXAS AFT                                  )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 21-cv-00786
                                                                     )
JOSE ESPARZA, in his official capacity as the Texas                  )
        Deputy Secretary of State, et al.
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Dana DeBeauvoir, in her official capacity as the Travis County Clerk
                                       Travis County Elections Division
                                       P.O. Box 149325
                                       Austin, Texas 78714-9325




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John R. Hardin
                                           PERKINS COIE LLP
                                           500 North Akard Street, Suite 3300
                                           Dallas, Texas 75201-3347



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:          09/08/2021
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 4 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 21-cv-00786

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 5 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                        Western District
                                                    __________  District of
                                                                         of __________
                                                                            Texas

LULAC TEXAS; VOTO LATINO; TEXAS ALLIANCE                              )
   FOR RETIRED AMERICANS; TEXAS AFT                                   )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 21-cv-00786
                                                                      )
JOSE ESPARZA, in his official capacity as the Texas                   )
        Deputy Secretary of State, et al.
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Isabel Longoria, in her official capacity as the Harris County Elections Administrator
                                           Harris County Administration Building
                                           1001 Preston St., Ste. 200,
                                           Houston, Texas 77002




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John R. Hardin
                                           PERKINS COIE LLP
                                           500 North Akard Street, Suite 3300
                                           Dallas, Texas 75201-3347



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:           09/08/2021
                                                                                           Signature of Clerk or Deputy Clerk
                        Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 6 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 21-cv-00786

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 7 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Western District
                                                    __________  District of
                                                                         of __________
                                                                            Texas

LULAC TEXAS; VOTO LATINO; TEXAS ALLIANCE                             )
   FOR RETIRED AMERICANS; TEXAS AFT                                  )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 21-cv-00786
                                                                     )
JOSE ESPARZA, in his official capacity as the Texas                  )
        Deputy Secretary of State, et al.
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Yvonne Ramón, in her official capacity as the Hidalgo County Elections Administrator
                                           Hidalgo County Elections Department
                                           213 S. Closner Blvd.
                                           Edinburg, Texas 78539-4558




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John R. Hardin
                                           PERKINS COIE LLP
                                           500 North Akard Street, Suite 3300
                                           Dallas, Texas 75201-3347



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:          09/08/2021
                                                                                          Signature of Clerk or Deputy Clerk
                        Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 8 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 21-cv-00786

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                       Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 9 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Western District
                                                    __________  District of
                                                                         of __________
                                                                            Texas

LULAC TEXAS; VOTO LATINO; TEXAS ALLIANCE                             )
   FOR RETIRED AMERICANS; TEXAS AFT                                  )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 21-cv-00786
                                                                     )
JOSE ESPARZA, in his official capacity as the Texas                  )
        Deputy Secretary of State, et al.
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael Scarpello, in his official capacity as the Dallas County Elections Administrator
                                       Dallas County Elections Department
                                       1520 Round Table Drive
                                       Dallas, TX 75247




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John R. Hardin
                                           PERKINS COIE LLP
                                           500 North Akard Street, Suite 3300
                                           Dallas, Texas 75201-3347



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                09/08/2021
                                                                                          Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 10 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 21-cv-00786

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                      Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 11 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                     Western District
                                                 __________  District of
                                                                      of __________
                                                                         Texas

LULAC TEXAS; VOTO LATINO; TEXAS ALLIANCE                          )
   FOR RETIRED AMERICANS; TEXAS AFT                               )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 21-cv-00786
                                                                  )
JOSE ESPARZA, in his official capacity as the Texas               )
        Deputy Secretary of State, et al.
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Lisa Wise, in her official capacity as the Dallas County Elections Administrator
                                       El Paso County Elections Department
                                       500 E. San Antonio Ave., Suite #314
                                       El Paso, TX 79901




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       John R. Hardin
                                       PERKINS COIE LLP
                                       500 North Akard Street, Suite 3300
                                       Dallas, Texas 75201-3347



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                             CLERK OF COURT


Date:           09/08/2021
                                                                                       Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 12 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 21-cv-00786

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                      Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 13 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Western District
                                                    __________  District of
                                                                         of __________
                                                                            Texas

LULAC TEXAS; VOTO LATINO; TEXAS ALLIANCE                             )
   FOR RETIRED AMERICANS; TEXAS AFT                                  )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 21-cv-00786
                                                                     )
JOSE ESPARZA, in his official capacity as the Texas                  )
        Deputy Secretary of State, et al.
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Jose Esparza, in his official capacity as the Texas Deputy Secretary of State
                                       Service of Process
                                       Secretary of State
                                       P.O. Box 12079
                                       Austin, Texas 78711-2079




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John R. Hardin
                                           PERKINS COIE LLP
                                           500 North Akard Street, Suite 3300
                                           Dallas, Texas 75201-3347



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:          09/08/2021
                                                                                          Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 14 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 21-cv-00786

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
                      Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 15 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Western District
                                                    __________  District of
                                                                         of __________
                                                                            Texas

LULAC TEXAS; VOTO LATINO; TEXAS ALLIANCE                             )
   FOR RETIRED AMERICANS; TEXAS AFT                                  )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 21-cv-00786
                                                                     )
JOSE ESPARZA, in his official capacity as the Texas                  )
        Deputy Secretary of State, et al.
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Ken Paxton, in his official capacity as the Texas Attorney General
                                           Office of the Attorney General
                                           PO Box 12548 - Capitol Station
                                           Austin, Texas 78711-2548




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           John R. Hardin
                                           PERKINS COIE LLP
                                           500 North Akard Street, Suite 3300
                                           Dallas, Texas 75201-3347ias.law
                                           Fax: (202) 968-4498

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:            09/08/2021
                                                                                          Signature of Clerk or Deputy Clerk
                       Case 1:21-cv-00786-RP Document 5 Filed 09/08/21 Page 16 of 16

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 21-cv-00786

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
